Case 5:08-cv-01361-D Document 41-5 Filed 10/07/09 Page 1 of 5




                                PRIMARY CEMENTING PROPOSAL
                                                  27/8 IN. LONGSTRING




                        ARNOLD OIL PROPERTIES
                                                PITZER TRUST 1-2

                                                             Well Locatign



                                                               County           Custer
                                                               State            Olcia
                                                               Countiy          USA




           Prepared for                    Steve Kester                                Service Point               : EL RENO, OK
                                                                                       Business Phone              : 405-262-6580
           Date Prepared                      1-Jun-07                                 FAX No.                       405-262-5851
                                                                                       District contact              FELIPE (3ERMINI




                                                 Prepared by                       FeiIpe Germiril
                                                 Phone                      :      405-262-6580
                                                 FAX                               405-262.5851
                                                 E-Mail address             :      fgerminl©sIb.com




                                                                    Dbm NOd..:
    me  Wmm.Sm. N m...nad N, p.od Nd..
    ah4ahmd ham
                                               .mmmay N N,m, and Danad n.,.ama n      ha ndan a. anTonjadmm mad. mambq emma. N b.
                me u.n at an pmd.,0   0.nnha. P,ha, qoced amananmi., mdi, and mm      ha    dayl 1mm iN. daN o1 bat... Achml dma.pt, ma
    d.pandb* apco Nra. .q*nmo 0.4     au.mha uhammly mnqan.4 ma p.4mm mm. ,amhaL F,emmmn Nan. .nan4 o(p0m em DemO ma adam
                                                                                                                                   N mmal N. N.
    N*mm.d.




                                                                                                                                                  NflI rLnnflc




                                                                                                                                                    EXHIBIT

                                                                                                                                                       5
Case 5:08-cv-01361-D Document 41-5 Filed 10/07/09 Page 2 of 5




                                                                         ARNOLO OIL PROPERTiES
                                                                         PIT2ER TRUST 1.2
   Schiumberger                                                           :o.oicIa


                                Well Data: 2 716    in.   LongstrinQ

                         Depth                                 13;444     ft.•
                         Casing Size                             2718     in., 6.5 lbs itt.
                         Open Hole Diameter                      5314     in.
                         Previous Csg. Depth                   ii ,130    ft.
                         Previous Csg. Size                      5 1)2    in.. 17 lbsfft.
                         BHST                                      230    ‘F
                         BHCT                                    210      ‘F
                         Total Excess                                I    %
                         Tail Excess                              .




         PrevIo, c.      Mud WLIType: 12.3 ppq Fresh Wtr. Based
         11.130 ft.

                                          Calculations;
                         Volume Factors;
                         Casing x Open Hole                              0.1352 cu.ftift
        lop of Cemert    Casing x Previous Casing                        0.0861 cu.ftJtl
         ii.soon.        Casing (Internal)                               0.0321 cu.ftift


                         Top of Cement                                 11,900 ft.


                         Cement System:

                         Open Hole Fill              (1,544 x 0.1352 x 1.01)11.07 = 197 sks.
                         Casing Shoe Cement                       (40 x 0.0321)/1.07 1 sks.
                                                                 Total Tall Cement = 199 sks.




       TO.- 13.444 ii.
Case 5:08-cv-01361-D Document 41-5 Filed 10/07/09 Page 3 of 5




                                                                                         ARNOLD OU. PROPERTiES

 $chlumberger                                             .




                                                -.———.-------..
                                                                                      ‘PS



                                      Cementing Systems

                                     Spacer System: 20 bbls.

                               MUDPUSH MPLJSH It mixed               @   14.0 PPG


                                     Cement System: 200 eks.

                Class H    +   0.2% D167    +   0.2% D65      +   0.5% D800   +   0.05 gps D47


                               Mix Weight             :            16.4 PPG
                               Yield                               1.07 cu.fiisk.
                               Mix Water                           4.29 galisk,         (Fresh Water)




   JP..iflruno..     *o,
              IpI.1 In b ..w*n’.ni. b.l áw. i d d n
                                                                                  m        d.*.         dp
                         ih .Iyi b. aow.4. .o
                                                                      , m.d I d.b      .          m     r..
                                               D1D sawbd bI.d        b. .w. I .yem           p,wn.Ii.   w.




                                                                                                                 ADIrl r-.   flflñ7
Case 5:08-cv-01361-D Document 41-5 Filed 10/07/09 Page 4 of 5




      Schiumberger
                                                                 Cuslar County. Olda




                               Cementing Services Pricing
                                                                     Unit         Disc. Extended
    Units      UOM                   Description                    Price          %     Price
  MATERIALS AND EQUIPMENT:

          1    EA.       PUMP CHARGE         13444 FT 1ST 8HRS      25,500.00      48        13,260.00
          1    EA.       STANDBY CMT. PUMPER (4 HOURS)
                                                                     6.300,00      48         3,276.00
         4     HRS.     ADDITIONAL HRS.ONpIjp                        1,210.00      48         2,516.80
         1     BA.      BATCH MIXER             100 BBLS             4,360.00      48         2,267.20
         4     HRS.     ADDITIONAL HRS. ON BATCH MJ)(ER                356.00      48           740.48
         8     HRS.     CEMENT BULK UNITS TIME ON LOCATION
                                                                       230.00      48           956.80
       60      BA.      ROUNOTRIp MILEAGE (CARS[rRUCKS)
                                                                          5.51     48           171.91
         1     BA.      CemCAT/pRIs4frREATMENT DATA SERVICE          1,880.00      48           977.60
     200      SKS.      CLASS H CEMENT
                                                                        42.15      48         4,383.60
      62      CWT.      031     BARrrE WT. AGT.                         77.10     48         2,465.70
      94      LBS.      0800    MIDIEMP RETARDER                        13.10     48            640.33
      20      GALS.     D47    ANTIF0AMER                              100.70     48         1,047.28
      38      LBS.      0167    UNIFLAC                                 93.40     48         1,845.58
      38      LBS.     D65     TIC DISPERSANT
                                                                        16.05     48           317.15
        4     GALS.    L55 CLAY STABILIZER
                                                                      134.50      48           279.76
      20      BBLS.    0970    MUDPUSH Ii                             254.00      48         2,641.50
      60      MILES    MILEAGE ON                3 •UNITS                9.53     48           892.01
     378      T.M.     HAULING                12.6 TONS                  3.58     48           703.65
     246      CU.PT.   SERVICE CHQ,
       4                                                                 4.86     48           621.69
              UnIts    DOT TRUCK SURCHARGE
                                                                      725.00      48         1,508,00
       4      BA.      FUEL
                                                                      325.00      0     -    1,300.00
                                        SUBTOTAL (PRICEBOOK)
                                                                                            81,171.50
                                        EFFECTIVE DISCOuNT             47.23      %         38,338.32
                                        DISCOUNTEb TOTAL PF?i                      $        42,833.18




                                                                                                  ARNOLD-0008
Case 5:08-cv-01361-D Document 41-5 Filed 10/07/09 Page 5 of 5




   S PhIiamhPPn    ‘.‘
                             p
                                                                            PIUERTRUST1-2
                                                                            Custer County. Oke
                           ____..                                          -age




      This quote Is valid for a period of thirty days from the date submitted. These
      prices are estimates based on current price structure and wilt vary somewhat
      with the materials, equipment, and time actually required at the time of
      service. The discount shown will be applicable to the most current Doweli
      price book in effect at the time of service. Not Included are the costs of fluid
      storage, oil, water, (or transportation thereof) except as listed. Dowell does
      not offer these services.

      The cement slurry data presented are from systems previously tested In Dowell
      laboratories. Thickening time tests should be run when field mix water Is
      available and final temperatures are known. MudCement compatibility tests
      should be run when final mud systems are In use. These tests could cause
      quantity variations of the materials recommended, thereby affecting the price
      of thejob.

      In the interest of safety, a pre-job tailgate safety meeting will be held with your
      representative and other on-location personnel to familiarize everyone with
      existing hazards and safety procedures. During this meeting a designated
      wash-up area will be assigned for our cementing unit to dispose of our Cement
      slurry and drilling mud displacement fluid.

      Thank you For considering Dowell for this work. Please do not hesitate to
      call with any questions or concerns.




      Felipe Gemilni
      El Rerto OkIa




                                                                                                 foinI   rLnnr)Q
